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3                             UNITED STATES DISTRICT COURT
4                                    DISTRICT OF NEVADA
5                                               ***

6      STEVEN M. KINFORD,                             Case No. 3:12-cv-00489-MMD-CLB
7                                 Petitioner,                     ORDER
             v.
8
       BRIAN E. WILLIAMS, et al.,
9
                              Respondents.
10

11          Good cause appearing, it is hereby ordered that Respondents’ unopposed first

12    motion for enlargement of time (ECF No. 106) is granted. Respondents have until

13    March 15, 2021, to answer the surviving claims of the second amended petition for writ

14    of habeas corpus.

15          DATED THIS 12th Day of January 2021.

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                                                MIRANDA M. DU
18                                              CHIEF UNITED STATES DISTRICT JUDGE
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